Case 4:21-cr-00076-ALM-AGD           Document 486        Filed 12/18/24     Page 1 of 2 PageID #:
                                            1819



                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  v.                                             §      CASE NUMBER 4:21-CR-00076
                                                 §
  JONATHAN CERVANTES (4)                         §


               ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                    REPORT AND FINDING DEFENDANT GUILTY

        The Court referred this matter to the United States Magistrate Judge for administration of

 a guilty plea under Federal Rule of Criminal Procedure 11. The Magistrate Judge conducted a

 hearing in the form and manner prescribed by Rule 11 and issued Findings of Fact and

 Recommendation on Guilty Plea. The Magistrate Judge recommended that the Court accept

 Defendant’s guilty plea and adjudge Defendant guilty on Count One of the Fourth Superseding

 Indictment.

        The parties have not objected to the Magistrate Judge’s findings.

        The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea of

 the United States Magistrate Judge. The court also accepts Defendant’s plea but defers acceptance

 of the plea agreement until after review of the presentence report.

        In accordance with Defendant’s guilty plea, the Court finds Defendant Jonathan Cervantes

 GUILTY of Count One of the Fourth Superseding Indictment, charging a violation of Title 21

 U.S.C. § 846 - Conspiracy to Possess with the Intent to Manufacture and Distribute

 Methamphetamine.
Case 4:21-cr-00076-ALM-AGD     Document 486    Filed 12/18/24   Page 2 of 2 PageID #:
                                      1820
SIGNED this 18th day of December, 2024.




                          ___________________________________
                          AMOS L. MAZZANT
                          UNITED STATES DISTRICT JUDGE
